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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEWART Sl\/IITH, individually and on
behalf of all others similarly situated,

Plaintiff, Case No.
v. CLASS ACTION COMPLAINT
EGV CO_MPANIES, INC., a Missouri JURY TRIAL DEMANDED
corporation,

Defendant.

 

 

Plaintiff Stewart Smith (“Smith”) (“Plaintiff’) bring this Class Action Complaint and
Demand for Jury Trial (“Complaint”) against Defendant Health Insurance Innovations, Inc.
(“Defendant” or “EGV”) to: (l) stop Defendant’s practice of placing auto-dialed calls to cellphone
owners and (2) to obtain damages and other redress for all persons injured by its conduct. Plaintiff,
for his Complaint, alleges as follows upon personal knowledge as to himself and his own acts and
experiences, and, as to all other matters, upon information and belief, including investigation
conducted by his attorneys

JURISDICTION & VENUE

l. The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
133 l, as the action arises under the Telephone Consumer Protection Act7 47 U.S.C. § 227, et seq.,
(“TCPA” or the “Act”) and raises a question of federal law under a federal statute.

2. The Court also has jurisdiction under the Class Action Fairness Act, 28 U.S.C. §
l332 (“CAFA”). The alleged Class consists of over lOO persons, there is minimal diversity, and

the claims of the class members, when aggregated together, exceed $5 million. Further, none of

the exceptions to CAFA applies

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3. This Court has personal jurisdiction over Defendant EGV because it has either
directly or through its agents solicited and entered into business contracts in this District, and the
calls at issue in this case were directed, at least in part, to cellphone owners and users in this
District.

4. Venue is proper pursuant to 28 U.S.C. § l39l(b) because Plaintiff received the

unlawful calls in this District and the calls were directed to persons residing, at least in part, in this

District.
PARTIES
5. Plaintiff Smith is an individual who resides in Willow Grove, PA.
6. Defendant EGV is a corporation incorporated and existing under the laws of the

State of Missouri whose primary place of business and corporate headquarters is located at 2342
Technology Dr, Suite 325, O’Fallon, MO 63368.
COMMON FACTUAL ALLEGATIONS

7. Defendant EGV makes telemarketing calls to solicit consumers to purchase auto
warranties that it administers

8. All of the calls at issue in this case were made on behalf of, for the benefit of, and
with the knowledge and approval of EGV.

9. Unfortunately for consumers, EGV, in an attempt to sell more auto warranties,
engaged in an aggressive telemarketing campaign-often stepping outside the law in the process.

lO. Specifically, Defendant uses an automatic telephone dialing system (“ATDS”), to
make unsolicited telemarketing calls to cellphone numbers While such calls to landlines may be
permitted under the Act, it is a plain violation ofthe TCPA, 47 U.S.C. § 227, el seq. to make such

calls to cellphones without first obtaining prior express consent.

l\.)

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ll. Rather than adhere to the requisite rules regarding obtaining consent prior to
engaging in telemarketing, Defendant places repeated calls to consumers who have never provided
consent (either orally or in writing) to receive such calls

12. By making unauthorized telemarketing calls as alleged herein, Defendant has
caused consumers actual harm. This includes the aggravation, nuisance and invasions of privacy
that result from the placement and receipt of such calls, in addition to the wear and tear on their
telephones, consumption of battery life, lost ability to place outgoing calls and other interruption
in use, cellular minutes, loss of value realized for the monies consumers paid to their carriers for
the receipt of such calls, and other diminished use, enjoyment, value, and utility of their cellphones
and cellphone plans

l3. Furthermore, Defendant made the calls knowing that the calls trespassed against
and interfered with Plaintiff and the other Class members’ use and enjoyment of, and the ability to
access, their cellphones, including the related data, software, applications, and hardware
components

l4. Defendant knowingly made, and continues to make, repeated autodialed
telemarketing calls to cellphone owners without the prior express consent of the recipients

15. Additionally, Defendant makes repeated calls to persons whose telephone numbers
are listed on the national Do Not Call Registry.

l6. As such, Defendant not only invaded the personal privacy of Plaintiff and members
of the putative Class, it also intentionally and repeatedly violated the TCPA.

l7. The calls were made by or on EGV’s behalf and with its knowledge and approval.
EGV knew about the calls, received the benefits ofthe calls, directed that the calls be made, and/or

ratified the making ofthe calls

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18. The TCPA was enacted to protect consumers from unsolicited telephone calls like
those alleged in this case.

19. In response to EGV’s unlawful conduct, Plaintiff files the instant lawsuit and seeks
an injunction requiring EGV to cease all unsolicited telephone calling activities to consumers as
complained of herein and an award of statutory damages to the members of the Class, together
with costs, pre- and post judgment interest, and reasonable attorneys’ fees

FACTS SPECIFIC TO PLAINTIFF SMITH

20. Plaintiff Smith is the owner and customary user of a cellphone number ending in
6860.

2 l. At no time did Plaintiff ever provide his cellphone number to Defendant or provide
Defendant, or any of Defendant’s agents or contractors, with prior express consent to call.

22. Plaintiff Smith received unsolicited telemarketing calls from Defendant in or
around February & March 2019.

23. Plaintiff heard a pause and a click on the calls, indicative of an ATDS.

24. Plaintiff received calls from the numbers 267-300-0683 and 267-300-0681.

25. All of the calls were made by agents or employees of EGV at the direction and
oversight of EGV.

26. EGV knew about, directed, ratified, and benefitted from the calls

27. Prior to receiving the above-referenced calls, Plaintiff had no relationship with
Defendant, had never provided her telephone numbers directly to Defendant, and had never
requested that Defendant place calls to him or to offer him any services

28. Simply put, Plaintiff has never provided any form of prior express consent to

Defendant to place telemarketing calls to his phone number and has no business relationship with

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Defendant.

29. Defendant EGV was, and still is, aware that the above-described telemarketing calls
were made to consumers like Plaintiff who never provided prior express consent to receive them.

30. By making unsolicited calls as alleged herein, Defendant has caused Plaintiff and
members of the Class actual harm, including: (a) the aggravation, nuisance, and invasions of
privacy that result from the placement of such calls, (b) wear and tear on their cellphones, (c)
interference with the use of their phones, (d) consumption of battery life, (e) loss of value realized
for monies consumers paid to their wireless carriers for the receipt of such calls, and (f) the
diminished use, enjoyment, value, and utility of their telephone plans

31. Furthermore, Defendant made the calls knowing they trespassed against and
interfered with Plaintiff and the other Class members’ use and enjoyment of, and the ability to
access, their phones, including the related data, software, and hardware components

32. To redress these injuries, Plaintiff, on behalf of herself and a Class of similarly
situated individuals, brings this suit under the TCPA, which prohibits unsolicited telemarketing
calls to cellular telephones

33. On behalf of the Class, Plaintiff seeks an injunction requiring Defendant to cease
all unauthorized calling activities and an award of statutory damages to the class members, together
with costs, pre- and post-judgment interest, and reasonable attorneys’ fees

CLASS ACTION ALLEGATIONS

34. Plaintiff brings this action in accordance with F ederal Rule of Civil Procedure

23(b)(2) and Rule 23(b)(3) on behalf ofhimself and two Classes defined as follows:

No Consent Class: All persons in the United States who (l) from the date four
years prior to the filing of this Complaint through the date notice is sent to the Class;
(2) Defendant caused to be called; (3) on the person’s cellphone; (4) for the same
purpose as Defendant called Plaintiff; (5) using the same equipment that was used
to call the Plaintiff, and (6) for whom Defendant claims it obtained prior express

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consent in the same manner as Defendant claims it obtained prior express consent
to call the Plaintiff.

DNC Class: All persons in the United States (l) whose phone numbers had been
listed on the National Do Not Call Registry for at least 30 days, (2) who, following
such listing, were called by Defendant at least twice in any twelve-month period,
(3) for the same purpose as Defendant placed calls to the Plaintiff; (4) after having
obtained consent to call in the same manner as consent was supposedly obtained to
call the Plaintiff.

35. The following people are excluded from the Classes: (l) any Judge or Magistrate
presiding over this action and members of their families; (2) Defendant, Defendant’s subsidiaries,
parents, successors, predecessors contractors, and any entity in which the Defendant or its parents
have a controlling interest and their current or former employees, officers and directors; (3) persons
who properly execute and file a timely request for exclusion from the Classes; (4) persons whose
claims in this matter have been finally adjudicated on the merits or otherwise released; (5)
Plaintiff’s counsel and Defendant’s counsel; and (6) the legal representatives successors, and
assignees of any such excluded persons

36. Plaintiff anticipates the need to amend the class definitions following a period of
appropriate class-based discovery.

37. Numerosity: The exact numbers of members within the Classes are unknown and
not available to Plaintiff at this time, but individual joinder is impracticable On information and
belief, Defendant has placed telemarketing calls to thousands of consumers who fall into the
defined Classes The number of members of the Classes and class membership can be identified
through objective criteria, including Defendant’s phone records

38. Typicality: Plaintiffs claims are typical of the claims of other members of the
Classes in that Plaintiff and the members of the Classes sustained the same legal injuries and
damages arising out of Defendant’s uniform wrongful conduct. If Plaintiff has an entitlement to

relief, so do the rest of the Class l\/Iembers.

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39. Adequate Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Classes and has retained counsel competent and experienced in complex
class actions, including class actions under the TCPA. Neither Plaintiff nor her counsel has any
interest in conflict with or antagonistic to those of the Classes, and Defendant has no defenses
unique to Plaintiff.

40. Commonality and Predominance: There are questions of law and fact common
to the claims of Plaintiff and the Classes, and those questions will drive the litigation and
predominate over any questions that may affect individual members of the Classes Common
questions for the Classes include, but are not necessarily limited to the following:

(a) Whether Defendant’s conduct violated the TCPA;
(b) Whether the calls were made on behalf of Defendant and/or whether

Defendant knew about, approved/ratified, or benefitted from the calls;

(c) Whether Defendant had prior express consent to place the calls;

(d) Whether the calls were for telemarketing;

(e) Whether the calls were made using an ATDS;

(f`) Whether Defendant repeatedly called persons on the national Do Not Call
registry; and

(g) Whether Defendant’s conduct was willful or knowing such that members of
the Class are entitled to treble damages

4l. Conduct Similar Towards All Class Members: By committing the acts set forth
in this pleading, Defendant has acted or refused to act on grounds substantially similar towards all
members ofthe Classes so as to render certification of the Classes for final injunctive relief and

corresponding declaratory relief appropriate under Rule 23(b)(2).

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42. Superiority & Manageability: This case is also appropriate for class certification
because class proceedings are superior to all other available methods for the fair and efficient
adjudication of this controversy. Joinder of all parties is impracticable, and the damages suffered
by the individual members of the Classes will likely be relatively small, especially given the burden
and expense of individual prosecution of the complex litigation necessitated by Defendant’s
actions lt would be virtually impossible for the individual members of the Classes to obtain
effective relief from Defendant’s misconduct Even if members of the Classes could sustain such
individual litigation, it would still not be preferable to a certified class action, because individual
litigation would increase the delay and expense to all parties due to the complex legal and factual
controversies presented in this Complaint. By contrast, a class action presents far fewer
management difficulties and provides the benefits of single adjudication, economies of scale, and
comprehensive supervision by a single Court. Economies of time, effort and expense will be
fostered and uniformity of decisions ensured. Also, there are no pending governmental actions

against Defendant for the same conduct.

FIRST CAUSE OF ACTION
Violation of 47 U.S.C. § 227, et seq.
(On behalf of Plaintiff and the N0 Consent Class)

 

43. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

44. Defendant made or caused to be made calls to Plaintiff`s and the other No Consent
Class Members’ phones

45. These calls were made using equipment that had the capacity to store or produce
telephone numbers using a random or sequential number generator, to receive and store lists of
phone numbers, and to dial such numbers, en masse, without human intervention. The telephone
dialing equipment utilized by Defendant had functionality akin to a predictive dialer, dialed

numbers from a list, dialled random numbers, dialled with minimal human intervention, and/or

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dialed numbers predictively from a database of non-randomized telephone numbers, in an
automatic and systematic manner. Defendant’s autodialer disseminated information en masse to
Plaintiff and other consumers In short, Defendant used an ATDS under the TCPA.

46. Defendant violated the TCPA by making calls using an ATDS to Plaintiff’s and
other class members’ cell phones

47. The calls were for telemarketing purposes, specifically to apprise Plaintiff and
others of the availability of auto warranties on which EGV serves as administrator

48. Neither Plaintiff nor any other consumer ever provided prior express written or oral
consent under the TCPA to be called by or on behalf of EGV.

49. No written consent containing required disclosures under 47 C.F.R. § 64.1200 et

seq. was ever obtained.

50. Likewise, neither Plaintiff nor any other consumer ever had an existing business
relationship with EGV.
51. As a result of Defendant’s unlawful conduct, Plaintiff and the other members of the

Class suffered actual damages and, under section 47 U.S.C. § 227(0)(5), Plaintiff and each member
of the Class are each entitled to receive up to $500 in damages for each violation of 47 C.F.R. §
64.1200.

52. Should the Court determine that Defendant’s conduct was willful and knowing, the
Court may, pursuant to Section 227(c)(5), treble the amount of statutory damages recoverable by
Plaintiff and the other members of the Class

53. Plaintiff and the Class members are also entitled to incidental injunctive relief and
corresponding declaratory relief as necessary to prevent their future receipt of Defendant’s

unlawful calls

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SECOND CAUSE OF ACTION
Violation of 47 C.F.R § 64.1200, et seq.
(On behalf of Plaintiff and the DNC Class)

54. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

55. The TCPA’s implementing regulation, 47 C.F.R. § 64.l200(c), provides that “[n]o
person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
who has registered his or her telephone number on the national do-not-call registry of persons who
do not wish to receive telephone solicitations that is maintained by the federal government.”

56. 47 C.F.R. § 64.l200(e), in turn, provides that § 64.l200(c) and (d) “are applicable
to any person or entity making telephone solicitations or telemarketing calls to wireless telephone
numbers to the extent described in the FCC’s July 3, 2003 Report and Order.

57. The July 3, 2003 Report and Order provides as follows:

The Commission’s rules provide that companies making telephone solicitations to
residential telephone subscribers must comply with time of day restrictions and
must institute procedures for maintaining do-not-call lists For the reasons
described above, we conclude that these rules apply to calls made to wireless
telephone numbers We believe that wireless subscribers should be afforded the
same protections as wireline subscribers

58. 47 C.F.R. § 64. l200(d) further provides that “[n]o person or entity shall initiate any
call for telemarketing purposes to a residential telephone subscriber unless such person or entity
has instituted procedures for maintaining a list of persons who request not to receive telemarketing
calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:

(l) Written policy. Persons or entitles making calls for telemarketing purposes must
have a written policy, available upon demand, for maintaining a do-not-call list.
Rules and Regulations Implementing the Telephone Consumer Protection Act of
1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd. 14014 (2003)
Available at https://appsfcc.gov/edocs_public/attachmatch/FCC-03-l 53Al .pdf

(2) Training of personnel engaged in telemarketing Personnel engaged in any

aspect of telemarketing must be informed and trained in the existence and use of
the do-not-call list.

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(3) Recording, disclosure of do-not-call requests lf a person or entity making a call
for telemarketing purposes (or on whose behalf such a call is made) receives a
request from a residential telephone subscriber not to receive calls from that person
or entity, the person or entity must record the request and place the subscriber’s
name, if provided, and telephone number on the do-not-call list at the time the
request is made. Persons or entities making calls for telemarketing purposes (or on
whose behalf such calls are made) must honor a residential subscriber’s do-not-call
request within a reasonable time from the date such request is made. This period
may not exceed thirty days from the date of such request . . . .

(4) Identification of sellers and telemarketers. A person or entity making a call for
telemarketing purposes must provide the called party with the name of the
individual caller, the name of the person or entity on whose behalf the call is being
made, and a telephone number or address at which the person or entity may be
contacted. The telephone number provided may not be a 900 number or any other
number for which charges exceed local or long distance transmission charges

(5) Affiliated persons or entities In the absence of a specific request by the
subscriber to the contrary, a residential subscriber’s do-not-call request shall apply
to the particular business entity making the call (or on whose behalf a call is made),
and will not apply to affiliated entities unless the consumer reasonably would
expect them to be included given the identification of the caller and the product
being advertised

(6) Maintenance of do-not-call lists. A person or entity making calls for
telemarketing purposes must maintain a record of a consumer’s request not to
receive further telemarketing calls A do-not-call request must be honored for 5
years from the time the request is made.

59. Defendant violated 47 C.F.R. § 64.l200(c) by initiating, or causing to be initiated,
repeated telephone solicitations to telephone subscribers Such as Plaintiff and the DNC Class
members who registered their respective telephone numbers on the National Do Not Call Registry,
a listing of persons who do not wish to receive telephone solicitations that is maintained by the
federal government These consumers requested to not receive calls from Defendants, as set forth
in 47 C.F.R. § 64.1200(d)(3).

60. Defendant also violated 47 C.F.R. § 64.l200(d) by failing to have a written policy
regarding do not call requests, by failing to inform or train its personnel regarding any do not call
list, and by failing to properly record such requests

6l. Defendant made more than one unsolicited telephone call to Plaintiff and other

members ofthe DNC Class within a lZ-month period without their prior express consent to receive

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such calls Plaintiff and other members of the DNC Class never provided any form of consent to
receive telephone calls from Defendants.

62. Defendant does not have a current record of consent to place telemarketing calls to
them.

63. Defendant violated 47 C.F.R. § 64.l200(d) by initiating calls for telemarketing
purposes to residential and wireless telephone subscribers, such as Plaintiff and the DNC Class,
without instituting procedures that comply with the regulatory minimum standards for maintaining
a list of persons who request not to receive telemarketing calls from them.

64. Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the members of the
DNC Class received more than one telephone call (at least two) in a l2-month period made by or
on behalf of Defendants in violation of 47 C.F.R. § 64.l200, as described above. As a result of
Defendants’ conduct as alleged herein, Plaintiff and the DNC Class suffered actual damages and,
under section 47 U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for
such violations of 47 C.F.R. § 64.l200.

65. To the extent Defendant’s misconduct is determined to be willful and knowing the
Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
recoverable by Plaintiff and the DNC Class,

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of themselves and the Class, pray for the following
relief :

A. An order certifying the Class as defined above, appointing Plaintiff as the

representative ofthe Classv and appointing her counsel as Class Counsel;

B. An order declaring that Defendant’s actions, as set out above, violate the TCPA;

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C. An injunction requiring Defendant to cease all telemarketing calls made using an
ATDS to cellphones, without first obtaining prior express consent to call;

D. An award of actual monetary loss from such violations or the sum of five hundred
dollars ($500.00) for each violation, whichever is greater all to be paid into a
common fund for the benefit of the Plaintiff and the Class Members;

E. An award of treble damages if willful or knowing violations are shown;

F. An award of reasonable attorneys’ fees and costs to be paid out of the common fund
prayed for above; and

G. Such other and further relief that the Court deems reasonable and just.

JURY DEMAND
Plaintiff requests a trial by jury of all claims that can be so tried.

ROYER COOPER COHEN BRAUNFELD LLC

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Dated; March 19, 2019 By; Ar » k

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